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				DEAL v. BROOKS2016 OK 123Case Number: 113979Decided: 12/12/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 123, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL.&nbsp;



CHARLES DEAL and ANNETTE DEAL, Personal Representatives of the Estate of Serenity Deal, Plaintiffs/Appellants,
v.
SEAN DEVON BROOKS, RANDY J. LACK, and JENNIFER SHAWN, Defendants,
and
STATE OF OKLAHOMA ex rel. OKLAHOMA DEPARTMENT OF HUMAN SERVICES, Defendant/Appellee.




ORDER


Defendant/Appellee's petition for certiorari is denied. The Court of Civil Appeals' opinion is approved for publication and accorded precedential value.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF DECEMBER, 2016.


/S/VICE CHIEF JUSTICE


VOTE ON DENIAL OF CERTIORARI:

GURICH, V.C.J., KAUGER, WATT, EDMONDSON, COLBERT, REIF, JJ. - CONCUR
WINCHESTER, TAYLOR, JJ. - DISSENT
COMBS, C.J. - NOT PARTICIPATING

VOTE TO APPROVE COURT OF CIVIL APPEALS' OPINION FOR PUBLICATION:

GURICH, V.C.J., WATT, EDMONDSON, COLBERT, REIF, JJ. - CONCUR
KAUGER, WINCHESTER, TAYLOR, JJ. - DISSENT
COMBS, C.J. - NOT PARTICIPATING






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